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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE SOUTHERN DISTRICT OF GEORGIA

                                AUGUSTA DIVISION


CHRISTIN BALLARD,

             Plaintiff,

      V.                                             CV 121-119



EVAN JOSEPH, Warden; GEOFFREY A.
ALLS; and, MELVIN KESNER,

             Defendants.



                                      ORDER



      After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion,

DISMISSES Plaintiffs complaint for failure to state a claim upon which relief may be

granted, DENIES AS MOOT the motion to proceed in forma pauperis, (doc. no. 2), and

CLOSES this civil action.


       SO ORDERED this jC^day of November 2021, at Augusta, Georgia.


                                               J. RANDAL HALL,CHIEF JUDGE
                                               UNIT^ STATES DISTRICT COURT
                                                    ^HERN DISTRICT OF GEORGIA
